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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:06CR3040
                                     )
     v.                              )
                                     )
NOE GUSTAVO CHAVEZ LOYA,             )       ORDER
                                     )
     Defendant.                      )



     IT IS ORDERED,

     On the court’s own motion,

     The change of plea hearing is continued to August 24, 2006
at 1:00 p.m.

     For this defendant, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     The defendant shall be present at the hearing.

     Dated August 14, 2006.


                                   BY THE COURT


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
